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l§ZZS/TPK/kas Attorney ID #6275284
10-24-1 1

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

DARYL KIRKLAND and JUDY
KIRKLAND,

Plaintiffs,
V. Case No. ll-cV-O7285
STEVEN SIGALOVE, M.D. and DUPAGE
MEDICAL GROUP, LTD., lndividually and

d/b/a THE INSTITUTE FOR AESTHETIC
SURGERY, a Corporation,

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Defendants.

 

AMENDED COMPLAINT AT LAW

NoW comes the Plaintiffs, DARYL KIRKLAND and JUDY K]RKLAND, by their
attorneys, ANESI, OZMON, RODIN, NOVAK & KOHEN, LTD., and complaining of the
Defendants, STEVEN SIGALOVE, M.D. and DUPAGE MEDICAL GROUP, LTD.,
Individually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation., alleges
as folloWs:

JURISDICTION AND VENUE

l. Plaintiffs, DARYL KIRKLAND and JUDY KIRKLAND, are residents of British
Colurnbia, Canada and Citizens of Canada.

2. Defendant, STEVEN SIGALOVE, M.D. is a citizen of Illinois.

3. Defendant, DUPAGE MEDICAL GROUP, LTD., lndividually and d/b/a THE
INSTITUTE FOR AESTHETIC SURGERY, a Corporation is incorporated in lllinois With its

headquarters and principal place of business in Illinois.

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4. That this court has jurisdiction over this action pursuant to 28 U.S.C. Section
1332 as there is complete diversity of citizenship between Plaintiffs and Defendants and the
amount in controversy exceeds $75,000.00 exclusive of interest and costs.

5. Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. Section
1391 as Defendants reside and a Substantial part of the events occurred within this district

COUNT I

l. That on October 30, 2009, the Defendant, Steven Sigalove, M.D. was a duly
licensed and practicing Plastic Surgeon in the State of lllinois holding himself out as being
trained and Skilled in the medical profession; and said Defendant was engaged in the practice of
that profession in the Village of Lombard, County of DuPage, and State of Illinois, and further
held himself out as the agent or apparent agent of DuPage Medical Group, lndividually and
d/b/ a The lnstitute for Aesthetic Surgery.

2. That on the aforementioned date, the Defendant, Steven Sigalove, M.D., was
retained and employed as the Plaintiffs Plastic Surgeon for the purpose of treatment in
conjunction with suction~assisted lipectomy of the abdomen, tlanks, and lower back for which
he was then and there seeking, which required medical and/or surgical treatment and the said
Defendant accepted such employment and thereafter rendered medical treatment to the Plaintiff
for a pecuniary consideration

3. That at the time of, and during the course of the aforementioned treatment, the
Defendant, Steven Sigalove, M.D., did not possess and/or exercise that degree of skill and care
that ordinarily well-qualified Plastic Surgeons possess and exercise under similar circumstances
in the aforementioned locality or similar localities in which the aforementioned treatment was

rendered in that Defendant:

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(a) Failed to protect and/or guard against Plaintiff’s colon
being perforated.

(b) Failed to recognize the harm caused by Plaintiff’s colon
being perforated.

(c) Failed to properly respond to the harm created by the
surgical misadventure.

(d) Failed to properly advise and/or warn the Plaintiff of the
risks associated with the procedure or the type or degree of

surgical misadventure.

(e) Failed to appropriately follow up with the patient after the
procedure

(t) Failed to diagnose the colon perforation present on October
30, 2009, which would have permitted intervention to
prevent injury.

4. That as a direct and proximate result of one or more of the aforesaid negligent
acts and/or omissions of the Defendant, the Plaintiff suffered a perforated colon due to the failure
to protect and/or guard against this occurrence

5. That as a direct and proximate result of one or more of the aforesaid careless and
negligent acts and/or omissions of the Defendant, the Plaintiff then and there sustained severe
and permanent injuries and was, and will be, hindered and prevented from attending to his usual
duties and affairs of life, and has lost, and will lose, the value of that time as aforementioned
Further, Plaintiff has expended large sums of money endeavoring to be cured and healed of said
injuries and will in the future, incur additional sums of money endeavoring to be cured of said
injuries Further, Plaintiff also suffered and will, in the future, suffer great pain and anguish
from said injuries.

6. That attached hereto and made a part hereof in conformance with 735 ILCS 5/2-

622 are both an Affidavit of Counsel (See Exhibit “A”) and an Affidavit from a Health Care

Professional (See Exhibit “B”).

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WHEREFORE, the Plaintiff, DARYL KIRKLAND, demands judgment against the
Defendant, STEVEN SIGALOVE, M.D., in a dollar amount to satisfy the jurisdictional
limitation of this Court and such additional amounts as the jury and the Court shall deem proper,
and additionally, costs of said suit.

§Q_U_N_Tl

l. That on and prior to October 30, 2009, the Plaintiff was the lawfully wedded wife
of DARYL KlRKLAND.

2-4. Plaintiff repeats and realleges, and incorporates by reference, Paragraphs One (l)
through Three (3) of Count I as Paragraphs Two (2) through Four (4) of Count H, as if fully set
forth herein. .

5. That as a direct and proximate result of the aforesaid careless and negligent acts
and/or omissions of the Defendant, STEVEN SIGALOVE, M.D., the Plaintiffs husband then
and there sustained severe and permanent injuries, both externally and internally, and was, and
will be, hindered and prevented from attending to his usual duties and affairs

6. That as a direct and proximate result of the aforesaid careless and negligent acts
and/or omissions of the Defendant, STEVEN SIGALOVE, M.D., the Plaintiff has been deprived,
and is reasonably certain to be deprived in the future, of the society, companionship and conjugal
relationship with her husband

7. That attached hereto and made a part hereof in conformance with 735 ILCS 5/2-
622 are both an Affldavit of Counsel (See Exhibit “A”) and an Affidavit from a Health Care
Professional (See Exhibit “B”).

WHEREFORE, the Plaintiff, IUDY KIRKLAND, demands judgment against the
Defendant, STEVEN SIGALOVE, M.D., in a dollar amount to satisfy the jurisdictional
limitation of this Court and such additional amounts as the jury and the Court shall deem proper,

and additionally, costs of said suit.

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COUNT III

l. That on October 30, 2009, and prior thereto, the Defendant, DUPAGE MEDlCAL
GROUP, LTD., Individually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a
Corporation, was a duly constituted professional medical corporation, in the State of Illinois,
which, by and through its agents, servants and employees, treated persons suffering from various
ailments and provided medical services for the needs of patients under the care and treatment of
said medical corporation

2. That on and prior to the aforementioned date, the Defendant, DUPAGE
MEDICAL GROUP, LTD., lndividually and d/b/a THE INSTITUTE FOR AESTHETIC
SURGERY, a Corporation, through its agents, servants and employees, accepted the Plaintiff as
a patient and agreed to render competent and adequate medical services in conjunction with a
surgical procedure and said Defendant, through its agents, servants and employees, undertook to
render care, diagnosis, treatment and services for pecuniary consideration

3. That at all times mentioned herein, the Defendant, DUPAGE MEDICAL
GROUP, LTD., lndividually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a
Corporation, through its agents, servants and employees, was guilty of one or more of the
following careless and negligent acts and/or omissions:

(a) Failed to protect and/or guard against Plaintiff’s colon
being perforated.

(b) Failed to recognize the harm caused by Plaintiff’S colon
being perforated.

(c) Failed to properly respond to the harm created by the
surgical misadventure.

(d) Failed to properly advise and/or warn the Plaintiff of the
risks associated with the procedure or the type or degree of
surgical misadventure.

(e) Failed to appropriately follow up with the patient after the
procedure

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(f) Failed to diagnose the colon perforation present on October
30, 2009, which would have permitted intervention to
prevent injury.

4. That as a direct and proximate result of one or more of the aforesaid negligent
acts and/or omissions of the Defendant, DUPAGE MEDICAL GROUP, LTD., lndividually and
d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation, by and through its
agents, servants and employees, the Plaintiff suffered a perforated colon due to the failure to
protect and/or guard against this occurrence

5. That as a direct and proximate result of one or more of the aforesaid careless and
negligent acts and/or omissions of the Defendant,` DUPAGE MEDICAL GROUP, LTD.,
lndividually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation, by and
through its agents, servants and employees, the Plaintiff then and there sustained severe and
permanent injuries and was, and will be, hindered and prevented from attending to his usual
duties and affairs of life, and has lost and will lose, the value of that time as aforementioned
Further, Plaintiff has expended large sums of money endeavoring to be cured and healed of said
injuries and will, in the future, incur additional sums of money endeavoring to be cured of said
injuries

6. That attached hereto and made a part hereof in conformance with 735 ILCS 5/2-
622 are both an Affldavit of Counsel (See Exhibit “A”) and an Affidavit from a Health Care
Professional (See Exhibit “B”).

WHEREFORE, the Plaintiff, DARYL KIRKLAND, demands judgment against the
Defendant, DUPAGE MEDICAL GROUP, LTD., Individually and d/b/ a THE INSTITUTE FOR
AESTHETIC SURGERY, a Corporation, in a dollar amount to satisfy the jurisdictional

limitation of this Court and such additional amounts as the jury and the Court shall deem proper,

and additionally, costs of said suit.

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COUN'T'IV

l That on and prior to October 30, 2009,. the Plaintiff was the lawfully wedded wife
of DARYL KlRKLAND.

2-4. Plaintiff repeats and realleges, and incorporates by reference, Paragraphs One (l)
through Three (3) of Count III as Paragraphs Two (2) through Four (4) of Count lV, as if fully
set forth herein.

5 . That as a direct and proximate result of the aforesaid careless and negligent acts
and/or omissions of the Defendant, DUPAGE MEDICAL GROUP, LTD., lndividually and d/b/a
THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation, the Plaintiffs husband then
and there sustained severe and permanent injuries, both externally and internally, and was, and
will be, hindered and prevented from attending to his usual duties and affairs

6. That as a direct and proximate result of the aforesaid careless and negligent acts
and/or omissions of the Defendant, DUPAGE MEDICAL GROUP, LTD., Individually and d/b/a
THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation, the Plaintiff has been
deprived, and is reasonably certain to be deprived in the future, of the society, companionship
and conjugal relationship with her husband

7. That attached hereto and made a part hereof in conformance with 735 ILCS 5/2-
622 are both an Affidavit of Counsel (See Exhibit “A”) and an Affidavit from a Health Care
Professional (See Exhibit “B”).

WHEREFORE, the Plaintiff, IUDY KIRKLAND, demands judgment against the
Defendant, DUPAGE MEDICAL GROUP, LTD., lndividually and d/b/a THE lNSTlTUTE FOR
AESTHETIC SURGERY, a Corporation, in a dollar amount to satisfy the jurisdictional
limitation of this Court and such additional amounts as the jury and the Court shall deem proper,

and additionally, costs of said suit.

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/s/ Todd P. Klein
Attorneys for Plaintiff(s)

 

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